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 1    BRIANNA GARDNER
      SARAH WILLIAMS
 2    Trial Attorneys
      Consumer Protection Branch
 3
      U.S. Department of Justice, Civil Division
 4    PO Box 386
      Washington, DC 20044-0386
 5    202-532-4786 (Gardner)
      202-616-4269 (Williams)
 6    Fax: 202-514-8742
      brianna.m.gardner@usdoj.gov
 7
      sarah.williams@usdoj.gov
 8
      Counsel for Plaintiff
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                                    UNITED STATES DISTRICT COURT FOR THE
11                                           DISTRICT OF NEVADA
12

13    UNITED STATES OF AMERICA
                                                               Case No. 21-cv-959
14                     Plaintiff,
15             v.
16    AFFINITYLIFESTYLES.COM, INC., and REAL
      WATER, INC., corporations, and BRENT A.
17                                                             COMPLAINT FOR A PERMANENT
      JONES and BLAIN K. JONES, individuals.
                                                               INJUNCTION
18
                       Defendants.
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             Plaintiff, the United States of America, on behalf of the United States Food and Drug
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     Administration (“FDA”) alleges:
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             1.        This statutory injunction proceeding is brought under the Federal Food, Drug, and
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     Cosmetic Act, 21 U.S.C. § 332(a), to halt the manufacture and distribution of adulterated and/or
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     misbranded bottled drinking water and chemical concentrate. Defendants’ bottled drinking water has
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     been associated with five cases of acute liver failure in children. Plaintiff seeks an injunction to restrain
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     and enjoin Defendants from directly or indirectly doing or causing the following acts:
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 1                  A.      Violating 21 U.S.C. § 331(uu), by operating a facility that manufactures,

 2 processes, packs, or holds food for sale in the United States, and not doing so in compliance with the

 3 hazard analysis and risk-based preventive controls requirements in 21 U.S.C. § 350g;

 4                  B.      Violating 21 U.S.C. § 331(a), by introducing or delivering for introduction into

 5 interstate commerce articles of food that are adulterated within the meaning of 21 U.S.C. § 342(a)(4)

 6 and/or misbranded within the meaning of 21 U.S.C. § 343(i)(2); and

 7                  C.      Violating 21 U.S.C. § 331(k), by causing articles of food that are held for sale

 8 after shipment of one or more of their components in interstate commerce to become adulterated within

 9 the meaning of 21 U.S.C. § 342(a)(4) and/or misbranded within the meaning of 21 U.S.C. § 343(i)(2).

10                                       JURISDICTION AND VENUE

11          2.      This Court has jurisdiction over the subject matter and all parties to this action pursuant

12 to 28 U.S.C. §§ 1331, 1337, and 1345, and 21 U.S.C. § 332(a).

13          3.      Venue in this district is proper under 28 U.S.C. § 1391.

14                                                THE PARTIES

15          4.      Plaintiff, the United States of America, brings this action on behalf of FDA, the agency

16 mandated to protect the public health by, among other things. ensuring the safety of the U.S. food

17 supply, including, but not limited to, bottled drinking water.

18          5.      Defendant AffinityLifestyles.com, Inc. (“Affinity”) is a Nevada corporation operating

19 under Nevada Business ID, NV19981130088, and located at 3773 Howard Hughes Parkway, Suite
20 500S, Las Vegas, Nevada 89169. Affinity is the majority shareholder of Defendant Real Water, Inc.

21          6.      Defendant Real Water, Inc. (“Real Water”) is a Delaware corporation, doing business in

22 Nevada, under Nevada Business ID, NV20181191189, with addresses at 3208 W. Desert Inn Rd, Las

23 Vegas, NV 89102 and 6018 E. Main Street, Mesa, Arizona 85205.

24          7.      Real Water manufactures bottled drinking water and a proprietary chemical concentrate

25 (“E2 Concentrate”) at 1180 Center Point Drive, Suite 200, Henderson, Nevada 89102 (the “Henderson

26 Facility”), within the jurisdiction of this Court.

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 1           8.     Real Water also manufactures bottled drinking water at 6018 E. Main Street, Mesa,

 2 Arizona 85205 (the “Mesa Facility”).

 3           9.     Defendants distribute bottled drinking water from the Henderson Facility and the Mesa

 4 Facility under the brands “Re2al Water Drinking Water” and “Re2al Alkalized Water,” respectively.

 5 “Re2al Water” is used herein to refer to either brand of Defendants’ bottled drinking water.

 6           10.    Defendants repackage E2 Concentrate at the Mesa Facility and distribute it under the

 7 brand “Re2al Alkalized Water Concentrate.”

 8           11.    Defendant Brent A. Jones is the President and Director of Affinity and Real Water. He is

 9 responsible for purchasing, marketing, and sales at Real Water. Brent A. Jones is a resident of Nevada,

10 who performs his duties at the Henderson Facility, within the jurisdiction of this Court.

11           12.    Defendant Blain K. Jones is the Vice President, Secretary, and Treasurer of Real Water,

12 and the Secretary and Treasurer of Affinity. He is responsible for manufacturing, distribution, and

13 employee training at Real Water. Blain K. Jones is a resident of Nevada, who performs his duties at the

14 Henderson Facility, within the jurisdiction of this Court.

15           13.    Upon information and belief, Defendants Brent A. Jones and Blain K. Jones are the only

16 individuals who know the formula for E2 Concentrate.

17           14.    Upon information and belief, Defendant Blain K. Jones is the sole individual responsible

18 for manufacturing E2 Concentrate.

19                                         DEFENDANTS’ PRODUCTS

20           15.    Defendants manufacture, process, prepare, bottle, pack, label, hold, and distribute articles

21 of food within the meaning of 21 U.S.C. § 321(f), namely Re2al Water and E2 Concentrate.

22           16.    Defendants manufacture E2 Concentrate at the Henderson Facility using materials

23 shipped from outside Nevada, including potassium hydroxide provided by a chemical company located

24 in Arizona.

25           17.    To manufacture E2 Concentrate, Defendants first process municipal tap water by carbon

26 filtration, reverse osmosis filtration, ultraviolet light filtration, and ozone filtration, and then Defendants

27 mix this processed water with potassium hydroxide, potassium bicarbonate, and magnesium chloride.

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 1 Next, Defendants claim to use a proprietary “ionizer” apparatus to apply an electrical current to this

 2 mixture, which allegedly creates positively-charged and negatively-charged solutions. Defendants then

 3 discard the positively-charged solution and store the negatively-charged solution as E2 Concentrate.

 4          18.     Defendants use E2 Concentrate for manufacturing Re2al Water at the Henderson Facility.

 5 Defendants also send E2 Concentrate to the Mesa Facility for manufacturing Re2al Water there, and for

 6 repackaging the E2 Concentrate into retail bottles.

 7          19.     Defendants manufacture Re2al Water by adding E2 Concentrate and potassium hydroxide

 8 to municipal tap water that has been processed as described in paragraph 17. Defendants mix these

 9 ingredients in a large tank, and then fill containers with this mixture for distribution as Re2al Water.

10          20.     Defendants distribute 5-gallon containers of Re2al Water from the Henderson Facility

11 both to customers within Nevada and to customers located outside of Nevada, including Arizona and

12 California. Defendants distribute 500-milliliter (mL), 1-liter (L), 1.5-L, and 1-gallon containers of Re2al

13 Water from the Mesa Facility to distributors in Arizona, California, and Nevada. Defendants distribute

14 4-ounce (oz) bottles of E2 Concentrate from the Mesa Facility to online consumers throughout the

15 United States.

16          21.     Defendants market Re2al Water as “premium” drinking water that is a “clean,” “healthy”

17 alternative to tap water.

18          22.     Defendants market E2 Concentrate as a taste enhancer that consumers can add to liquids,

19 including, but not limited to, tea, coffee, and wine.
20          23.     Defendants intend for Re2al Water and E2 Concentrate to be consumed with no further

21 processing. It is therefore crucial for Defendants to properly manufacture, process, prepare, bottle, pack,

22 hold, and distribute Re2al Water and E2 Concentrate to minimize the potential for chemical and

23 microbial contamination and reduce the risk of illness to consumers.

24                             PREVENTIVE CONTROLS REQUIREMENTS

25          24.     The Federal Food, Drug, and Cosmetic Act requires that the owner, operator, or agent in

26 charge of a facility evaluate the hazards that could affect food manufactured, processed, packed, or held

27 by such facility, and identify and implement preventive controls to significantly minimize or prevent the

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 1 occurrence of those hazards and provide assurances that such food is not adulterated. See 21 U.S.C.

 2 § 350g (Hazard analysis and risk-based preventive controls).

 3          25.     The hazard analysis and risk-based preventive controls requirements set forth at 21

 4 C.F.R. Part 117, Subpart C (“Human Food Preventive Control Regulations”), implement 21 U.S.C.

 5 § 350g, and were promulgated to better protect the public health by, among other things, ensuring the

 6 production of safe and sanitary food through hazard analysis and risk-based preventive controls. See 21

 7 U.S.C. § 350g(n)(1)(A). Failure to comply with the Human Food Preventive Control Regulations

 8 violates the Federal Food, Drug, and Cosmetic Act. See 21 U.S.C. § 331(uu) and 21 C.F.R. § 117.1(b);

 9 see also Final Rule, Current Good Manufacturing Practice, Hazard Analysis, and Risk-Based Preventive

10 Controls in Human Food, 80 Fed. Reg. 55,908 (Sept. 17, 2015).

11          26.     The hazard analysis requirements require the owner, operator, or agent in charge of a

12 food facility to “conduct a hazard analysis to identify . . . known or reasonably foreseeable hazards . . .

13 to determine whether there are any hazards requiring a preventive control” for each type of food

14 manufactured, processed, packed, or held at the facility. 21 C.F.R. § 117.130(a) (Requirement for a

15 hazard analysis); 21 U.S.C. § 350g(b). Hazards can be biological, chemical, or physical, and they can be

16 naturally occurring, unintentionally introduced, or intentionally introduced for purposes of economic

17 gain. See 21 U.S.C. § 350g(b); 21 C.F.R. § 117.130(b) (Hazard identification).

18          27.     The owner, operator, or agent in charge of a food facility must, among other things,

19 identify and implement preventive controls to provide assurances that any hazards requiring a preventive
20 control are significantly minimized or prevented, and the food manufactured, processed, packed, or held

21 by a facility is not adulterated under 21 U.S.C. § 342. See 21 U.S.C. § 350g(c); 21 C.F.R. § 117.135

22 (Preventive controls).

23          28.     Preventive controls include, as appropriate to the food and facility, process controls,

24 sanitation controls, supply-chain controls, a recall plan, as well as any other controls necessary to

25 provide assurances that the food is not adulterated under 21 U.S.C. § 342. 21 U.S.C. § 350g(c); 21

26 C.F.R. § 117.135(c).

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 1          29.     The preventive controls requirements require monitoring procedures to provide assurance

 2 that the preventive controls are being consistently performed, see 21 U.S.C. § 350g(d) and 21 C.F.R.

 3 § 117.145 (Monitoring); corrective action procedures to be taken if preventive controls are not properly

 4 implemented or found to be ineffective, see 21 U.S.C. § 350g(e) and 21 C.F.R. § 117.150 (Corrective

 5 actions and corrections); and procedures to verify that the preventive controls are consistently

 6 implemented and are effectively and significantly minimizing or preventing hazards, see 21 U.S.C.

 7 § 350g(f) and 21 C.F.R. § 117.165 (Verification of implementation and effectiveness).

 8          30.     The preventive controls requirements additionally require documentation of monitoring

 9 and corrective actions in accordance with 21 C.F.R. §§ 117.145 and 117.150 in records that are subject

10 to review in accordance with 21 C.F.R. § 117.165. See 21 U.S.C. § 350g(g) (Recordkeeping).

11          31.     The preventive controls requirements further require that the owner, operator, or agent in

12 charge of a food facility prepare a written food safety plan that includes the hazard analysis, preventive

13 controls, supply-chain program, recall plan, and monitoring, corrective action, and verification

14 procedures described above. See 21 U.S.C. § 350g(h) (Written Plan and Documentation); 21 C.F.R.

15 § 117.126 (Food safety plan).

16                                            Defendants’ Violations

17          32.     Defendants violate the Federal Food, Drug, and Cosmetic Act, 21 U.S.C. § 331(uu), by

18 operating a facility that manufactures, processes, packs, or holds food for sale in the United States, in a

19 manner that does not comply with the hazard analysis and risk-based preventive controls requirements
20 of 21 U.S.C. § 350g.

21          33.     Defendants fail to comply with the hazard analysis and preventive controls requirements

22 by, among other things, their:

23                  A.     Failure to identify and evaluate any known or reasonably foreseeable hazards for

24 each type of food manufactured, processed, packed, or held at Defendants’ facilities to determine

25 whether there are hazards requiring a preventive control, in violation of 21 U.S.C. § 350g(b) and 21

26 C.F.R. § 117.130;

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 1                  B.     Failure to identify and implement preventive controls to provide assurances that

 2 the food manufactured, processed, packed, or held at Defendants’ facilities is not adulterated under 21

 3 U.S.C. § 342, in violation of 21 U.S.C. § 350g(c) and 21 C.F.R. § 117.135;

 4                  C.     Failure to monitor the effectiveness of preventive controls to provide assurances

 5 that the food manufactured, processed, packed, or held by Defendants’ facilities is not adulterated under

 6 21 U.S.C. § 342, in violation of 21 U.S.C. § 350g(d) and 21 C.F.R. § 117.145;

 7                  D.     Failure to establish appropriate corrective action procedures to ensure that the

 8 food manufactured, processed, packed, or held by Defendants’ facilities and introduced into interstate

 9 commerce is not adulterated, in violation of 21 U.S.C. § 350g(e) and 21 C.F.R. § 117.150(b);

10                  E.     Failure to verify that preventive controls identified and implemented to provide

11 assurances that the food manufactured, processed, packed, or held by Defendants’ facilities is not

12 adulterated under 21 U.S.C. § 342 are adequate to control the hazards so identified, in violation of 21

13 U.S.C. § 350g(f) and 21 C.F.R. § 117.165(a);

14                  F.     Failure to establish and implement a risk-based supply-chain program for those

15 raw materials and other ingredients for which the receiving facility has identified a hazard requiring a

16 supply-chain-applied control, in violation of 21 U.S.C. § 350g(c) and 21 C.F.R. §§ 117.135(c)(4) and

17 117.405; and

18                  G.     Failure to develop a written food safety plan, in violation of 21 U.S.C. § 350g(h)

19 and 21 C.F.R. § 117.126.
20                                         FOOD ADULTERATION

21          34.     Food is adulterated within the meaning of the Federal Food, Drug, and Cosmetic Act “if

22 it has been prepared, packed, or held under insanitary conditions whereby it may be have become

23 contaminated with filth, or whereby it may have been rendered injurious to health.” 21 U.S.C.

24 § 342(a)(4).

25          35.     Manufacturers that process, bottle, hold, or ship bottled drinking water must comply with

26 FDA’s current good manufacturing practice (“CGMP”) requirements for bottled drinking water at 21

27 C.F.R. Part 129 (“Bottled Water CGMP Regulations”). See 21 C.F.R. § 129.1. The Bottled Water

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 1 CGMP Regulations were promulgated to ensure that bottled drinking water is safe for human

 2 consumption and that it has been processed, bottled, held, and transported under sanitary conditions. 21

 3 C.F.R. § 129.1. Manufacturing according to Bottled Water CGMP Regulations means that the facilities,

 4 methods, practices, and controls used in the processing, bottling, holding, and transporting of bottled

 5 drinking water are administered in conformity with CGMP. 21 C.F.R. § 129.1.

 6          36.     Among other things, failure to follow Bottled Water CGMP Regulations can render

 7 bottled drinking water adulterated within the meaning of 21 U.S.C. § 342(a)(4). See 21 C.F.R. § 129.1.

 8                                            Defendants’ Violations

 9          37.     Defendants violate the Federal Food, Drug, and Cosmetic Act, 21 U.S.C. § 331(a), by

10 introducing or delivering for introduction into interstate commerce, or causing the introduction or

11 delivery for introduction into interstate commerce, articles of food that are adulterated within the

12 meaning of 21 U.S.C. § 342(a)(4).

13          38.     Defendants violate the Federal Food, Drug, and Cosmetic Act, 21 U.S.C. § 331(k), by

14 causing articles of food that are held for sale after shipment of one or more of their components in

15 interstate commerce to become adulterated within the meaning of 21 U.S.C. § 342(a)(4).

16          39.     Defendants fail to comply with Bottled Water CGMP Regulations by, among other

17 things, their:

18                  A.     Failure to adequately clean and sanitize product water-contact surfaces of all

19 multiservice containers, utensils, pipes, and equipment used in the transportation, processing, handling,
20 and storage of product water, in violation of 21 C.F.R. § 129.37 (Sanitary operations), as those terms are

21 defined by 21 C.F.R. § 129.3 (e.g., “product water” is processed water that a plant uses for bottled

22 drinking water, and “multiservice containers” are containers intended to be used more than once);

23                  B.     Failure to process product water under processes and controls necessary to ensure

24 that Defendants’ treatment of their product water is effective and will not adulterate the bottled product,

25 in violation of 21 C.F.R. § 129.80(a);

26                  C.     Failure to adequately sample and test cleaning and sanitizing solutions to assure

27 adequate performance in the cleaning and sanitizing operations, in violation of 21 C.F.R. § 129.80(c);

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 1                  D.      Failure to identify each unit package with a production code that identifies the

 2 batch and date produced, and record and maintain information as to the kind of product, volume

 3 produced, date produced, lot code used, and the distribution of product to wholesale and retail outlets, in

 4 violation of 21 C.F.R. § 129.80(e);

 5                  E.      Failure to adequately monitor and record the performance of their filling, capping,

 6 and sealing process to assure that containers and closures are free from contamination, in violation of 21

 7 C.F.R. § 129.80(f); and

 8                  F.      Failure to adequately analyze product samples to assure that production of bottled

 9 drinking water complies with applicable standards, laws, and regulations, in violation of 21 C.F.R.

10 § 129.80(g).

11                                            MISBRANDED FOOD

12          40.     A food is misbranded within the meaning of the Federal Food, Drug, and Cosmetic Act

13 if, among other things, it is fabricated from two or more ingredients and its label fails to bear the

14 common or usual name of each ingredient. 21 U.S.C. § 343(i)(2).

15          41.     Food must comply with labeling requirements that declare the ingredients by listing them

16 by common or usual name in descending order of predominance by weight on either the principle

17 display panel or the information panel. See 21 C.F.R. § 101.4 (Food; designation of ingredients).

18                                             Defendants’ Violations

19          42.     Defendants violate the Federal Food, Drug, and Cosmetic Act, 21 U.S.C. § 331(a), by

20 introducing or delivering for introduction into interstate commerce, or causing to be introduced or

21 delivered for introduction into interstate commerce, articles of food that are misbranded under 21 U.S.C.

22 § 343(i)(2).

23          43.     Defendants violate the Federal Food, Drug, and Cosmetic Act, 21 U.S.C. § 331(k), by

24 causing articles of food that are held for sale after shipment of one or more components in interstate

25 commerce to become misbranded under 21 U.S.C. § 343(i)(2).

26          44.     Defendants cause their Re2al Water and E2 Concentrate to be misbranded within the

27 meaning of the Federal Food, Drug, and Cosmetic Act as follows:

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 1                  A.      Defendants’ Re2al Water product labels do not list by common or usual name all

 2 ingredients, and ingredients of multi-component ingredients, including potassium hydroxide and

 3 magnesium chloride, in violation of 21 U.S.C. § 343(i)(2) and 21 C.F.R. § 101.4; and

 4                  B.      Defendants’ E2 Concentrate product labels do not list by common or usual name

 5 all ingredients, including potassium bicarbonate, in violation of 21 U.S.C. § 343(i)(2) and 21 C.F.R.

 6 § 101.4.

 7                                       EVIDENCE OF VIOLATIONS

 8          45.     In March/April 2021, FDA inspected Defendants’ Henderson and Mesa Facilities, in

 9 response to reports of five cases of acute liver failure in children and infants potentially linked to

10 consumption of Defendants’ Re2al Water. During these inspections, FDA investigators documented

11 significant deviations from preventive controls requirements and Bottled Water CGMP Regulations.

12                                              Preventive Controls

13          46.     Defendants’ significant deviations from preventive controls requirements included, but

14 were not limited to, the following:

15                  A.      Failure to identify and evaluate any known or reasonably foreseeable hazards for

16 each type of food manufactured, processed, packed, or held at Defendants’ facilities to determine

17 whether there are hazards requiring a preventive control, in violation of 21 U.S.C. § 350g(b) and 21

18 C.F.R. § 117.130. Specifically, Defendants have not performed a hazard analysis of E2 Concentrate to

19 identify chemical hazards requiring a preventive control due to misformulation of E2 Concentrate.
20 Defendants have no documentation of the ingredients or manufacturing process for E2 Concentrate to

21 ensure that excessive amounts of chemical ingredients are not added or improperly mixed, or that the E2

22 Concentrate is not contaminated with environmental pathogens during processing. Defendants have also

23 not performed a hazard analysis to identify biological hazards, including environmental pathogens,

24 requiring a preventive control due to recontamination during the formulating or mixing of the E2

25 Concentrate. The E2 Concentrate sold directly to consumers does not undergo a lethal treatment,

26 meaning a treatment that will significantly minimize any environmental pathogen prior to packaging,

27 thus any biological contamination would be passed on to the consumer;

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 1                  B.     Failure to identify and implement preventive controls to provide assurances that

 2 the food manufactured, processed, packed, or held by Defendants’ facilities is not adulterated under 21

 3 U.S.C. § 342, in violation of 21 U.S.C. §350g(c) and 21 C.F.R. § 117.135. For example, FDA

 4 investigators observed at the Henderson and Mesa Facilities that Defendants have no written process

 5 control and/or supply-chain control procedures to ensure that the correct type and amount of chemicals

 6 are added to each batch of product water. Defendants also do not have written sanitation controls at the

 7 Henderson and Mesa Facilities to control the risk of recontamination with environmental pathogens

 8 during the mixing and bottling processes;

 9                  C.     Failure to monitor the effectiveness of preventive controls to provide assurances

10 that the food manufactured, processed, packed, or held at Defendants’ facilities is not adulterated under

11 21 U.S.C. § 342, in violation of 21 U.S.C. § 350g(d) and 21 C.F.R. § 117.145. Specifically, Defendants

12 do not have any monitoring records documenting Defendants’ formulation and mixing steps of their E2

13 Concentrate at the Henderson Facility, and do not have any monitoring records documenting

14 Defendants’ formulation and mixing steps of their Re2al Water at the Henderson and the Mesa Facilities;

15                  D.     Failure to establish appropriate corrective action procedures to ensure that the

16 food manufactured, processed, packed, or held by Defendants’ facilities from and entering interstate

17 commerce is not adulterated in violation of 21 U.S.C. § 350g(e) and 21 C.F.R. § 117.150(b).

18 Specifically, Defendants did not implement or record appropriate corrective actions in response to

19 illness complaints and equipment failure;
20                  E.     Failure to verify that preventive controls identified and implemented to provide

21 assurances that the food manufactured, processed, packed, or held by Defendants’ facilities is not

22 adulterated under 21 U.S.C. § 342 are adequate to control the hazard so identified, in violation of 21

23 U.S.C. § 350g(f) and 21 C.F.R. § 117.165(a). Specifically, Defendants failed to collect and test

24 environmental samples that verify the effectiveness of their sanitation controls to prevent contamination

25 by environmental pathogens;

26                  F.     Failure to establish and implement a risk-based supply-chain program for those

27 raw materials and other ingredients for which the receiving facility has identified a hazard requiring a

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 1 supply-chain-applied control, in violation of 21 U.S.C. § 350g(c) and 21 C.F.R. §§ 117.135(c)(4) and

 2 117.405. Specifically, FDA investigators observed that Defendants do not have preventive controls at

 3 the Mesa Facility for the E2 Concentrate received from the Henderson Facility to verify that the

 4 Henderson Facility is controlling the chemical hazard that could result due to misformulation of the E2

 5 Concentrate. Defendants also do not have records documenting the Mesa Facility’s receipt of the E2

 6 Concentrate, which is needed for a valid supply-chain program; and

 7                  G.      Failure to develop a written food safety plan, in violation of 21 U.S.C. § 350g(h)

 8 and 21 C.F.R. § 117.126. Defendants are required to have a written food safety plan that contains a

 9 hazard analysis, preventive controls, a supply-chain program, a recall plan, procedures for monitoring

10 the preventive control implementation, corrective action procedures, and verification procedures, but

11 they do not have such a plan for their E2 Concentrate. Thus, Defendants have not taken adequate

12 measures to protect against the hazards of chemical contamination in E2 Concentrate or in Re2al Water

13 that contains E2 Concentrate and is distributed directly to consumers.

14                                             Bottled Water CGMP

15          47.     Defendants’ significant deviations from CGMP regulations included, but were not limited

16 to, the following:

17                  A.      Failure to adequately clean and sanitize product water-contact surfaces of all

18 multiservice containers, utensils, pipes, and equipment used in the transportation, processing, handling,

19 and storage of their product water, in violation of 21 C.F.R. § 129.37. For example, during the
20 inspections at the Mesa and Henderson Facilities, FDA investigators observed that Defendants have not

21 properly cleaned and sanitized the water tanks in which they mix processed municipal tap water with E2

22 Concentrate, potentially leading to chemical and microbial contamination;

23                  B.      Failure to process product water under processes and controls necessary to ensure

24 that Defendants’ treatment of their processed product water is effective and will not adulterate the

25 bottled product, in violation of 21 C.F.R. § 129.80(a). For example, during the inspection at the

26 Henderson Facility, FDA investigators observed that Defendants use a combination of carbon, reverse

27 osmosis, ultraviolet light, and ozone filtration to process municipal tap water prior to its use as an

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 1 ingredient in E2 Concentrate and Re2al Water. However, Defendants fail to record the results of any

 2 inspections of the equipment used for these processes, conditions found, and the performance or

 3 effectiveness of the equipment. In addition, at the Henderson and Mesa Facilities, the investigators

 4 observed that Defendants do not sample the processed municipal tap water to assure the effectiveness of

 5 these processes, potentially leading to impure and unsafe water;

 6                  C.     Failure to adequately sample and test cleaning and sanitizing solutions to assure

 7 adequate performance in the cleaning and sanitizing operations, in violation of 21 C.F.R. § 129.80(c).

 8 For example, during the inspection at the Henderson Facility, FDA investigators observed that

 9 Defendants use recycled detergent and sanitizer water to clean and sanitize their reusable 5-gallon water

10 containers that hold Re2al Water, but fail to record the results of any sampling and testing of the

11 recycled detergent and sanitizer water to assure adequate performance, potentially leading to chemical

12 and microbial contamination;

13                  D.     Failure to identify each unit package with a production code that identifies the

14 batch and date produced, and record and maintain information as to the kind of product, volume

15 produced, date produced, lot code used, and the product distribution to wholesale and retail outlets, in

16 violation of 21 C.F.R. § 129.80(e). For example, FDA investigators observed no production codes on

17 unit packages of Re2al Water held at the Henderson Facility. Defendants were unable to provide

18 production records from the Mesa Facility. These failures further complicated recall and traceback

19 activities;
20                  E.     Failure to adequately monitor and record the performance of their filling, capping,

21 and sealing processes to assure that containers and closures are free from contamination, in violation of

22 21 C.F.R. § 129.80(f). Specifically, FDA investigators observed that Defendants do not monitor and

23 record the performance of their filling, capping, and sealing operations, and they do not inspect and

24 sample the containers and closures for bacteriological contamination; and

25                  F.     Failure to adequately analyze product samples to assure that production of bottled

26 drinking water complies with applicable standards, laws, and regulations, in violation of 21 C.F.R.

27 § 129.80(g). Specifically, Defendants fail to take and analyze representative product samples at least

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 1 once a week for total coliform organisms, fail to take and analyze representative product samples at least

 2 annually for chemical, radiological, physical, and radiological purposes, and fail to keep records of such

 3 analysis.

 4                                                     Illnesses

 5           48.    On March 13, 2021, FDA received information regarding five cases of acute non-viral

 6 hepatitis (resulting in acute liver failure) in infants and children that appeared to be associated with Re2al

 7 Water. The patients are from four different households, and all consumed Re2al Water prior to

 8 becoming ill.

 9           49.    FDA, the Centers for Disease Control and Prevention (“CDC”), and State health

10 departments are investigating these illnesses and collecting additional data as part of an ongoing

11 epidemiological investigation. To date, CDC has identified only one common exposure for the above

12 five cases – Re2al Water. No other common exposures, including medications, food, supplements,

13 activities, travel history, or ill contacts have been reported or linked to the illnesses.

14           50.    During the 2021 Inspections, FDA investigators documented that Defendants had

15 received complaints of illness from consumers, including complaints of nausea and vomiting after

16 consuming Re2al Water.

17           51.    After FDA warned consumers, restaurants, distributors, and retailers not to drink, cook

18 with, sell, or serve Re2al Water because of its association with the illnesses, FDA received additional

19 consumer complaints of illnesses alleged to be caused by Re2al Water.
20                                                  WARNINGS

21           52.    On March 16, 2021, FDA notified Defendants that Re2al Water appeared to be associated

22 with five cases of non-viral hepatitis in children. In response, Defendants assured FDA that they would

23 complete a thorough recall of all Re2al Water.

24           53.    Despite such assurances, FDA’s subsequent recall audit revealed that several distributors

25 and retail establishments appeared to be unaware of the recall.

26           54.    During the inspections, FDA investigators received conflicting information from

27 Defendant Blain K. Jones about ingredients, manufacturing processes, and manufacturing and

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 1 processing dates for Re2al Water and E2 Concentrate. For example, Blain K. Jones initially stated that

 2 the 5-gallon containers of Re2al Water were manufactured only in the Mesa Facility in November 2020,

 3 but FDA investigators later determined that the Henderson Facility was Defendants’ only facility

 4 capable of bottling 5-gallon containers of Re2al Water. Additionally, Blain K. Jones stated that

 5 Defendants’ E2 Concentrate had only been manufactured before August 2020, at a prior Las Vegas

 6 location. FDA investigators later determined that Defendants manufactured E2 Concentrate at the

 7 Henderson Facility at least three times since September 2020. Blain K. Jones also denied any change in

 8 the formulation of Defendants’ Re2al Water, but FDA investigators later determined that Defendants had

 9 changed the formulation in November 2020 because of customer complaints regarding taste and possible

10 illness.

11            55.   Based on the foregoing, Plaintiff believes that, unless restrained by this Court,

12 Defendants will continue to violate the Federal Food, Drug, and Cosmetic Act in the manner set forth

13 above.

14                                           PRAYER FOR RELIEF

15 WHEREFORE, Plaintiff respectfully requests that this Court:

16            I.    Order that Defendants, and each and all of their directors, officers, agents,

17 representatives, employees, attorneys, successors, assigns, and any and all persons in active concert or

18 participation with any of them, cease manufacturing, processing, preparing, bottling, packing, labeling,

19 holding, or distributing articles of food, unless and until Defendants’ facilities, methods, processes, and
20 controls used to manufacture, process, prepare, bottle, pack, labeling, hold, and distribute articles of

21 food are established, operated, and administered in conformity with the Federal Food, Drug, and

22 Cosmetic Act and applicable regulations, in a manner acceptable to FDA; and

23            II.   Order that Defendants, and each and all of their directors, officers, agents,

24 representatives, employees, attorneys, successors, assigns, and any and all persons in active concert or

25 participation with any of them, be restrained and enjoined under 21 U.S.C. § 332(a) from directly or

26 indirectly doing or causing to be done any of the following acts:

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 1                  a.     Violating 21 U.S.C. § 331(uu), by operating a facility that manufactures,

 2 processes, packs, or holds food for sale in the United States, and not doing so in compliance with the

 3 hazard analysis and risk-based preventive controls requirements in 21 U.S.C. § 350g; and

 4                  b.     Violating 21 U.S.C. § 331(a), by introducing or delivering for introduction, or

 5 causing to be introduced or delivered for introduction, into interstate commerce articles of food that are

 6 adulterated within the meaning of 21 U.S.C. § 342(a)(4) and/or misbranded within the meaning of 21

 7 U.S.C. § 343; and

 8                  c.     Violating 21 U.S.C. § 331(k), by causing articles of food that are held for sale

 9 after shipment of one or more of their components in interstate commerce to become adulterated within

10 the meaning of 21 U.S.C. § 342(a)(4) and/or misbranded within the meaning of 21 U.S.C. § 343; and

11          III.    Order that FDA be authorized pursuant to this injunction to inspect Defendants’ place(s)

12 of business and all records relating to the manufacture, processing, preparing, bottling, packing,

13 labeling, holding, and distribution of Defendants’ products to ensure continuing compliance with the

14 terms of the injunction, and that the Defendants bear the costs of such inspections at the rates prevailing

15 at the time of the inspection(s) are accomplished; and

16          IV.     Award Plaintiff costs incurred in pursuing this action, including the costs of investigation

17 to date; and

18          V.      Order such other and further equitable relief as this Court deems just and proper.

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 1 Dated this 19th day of May, 2021.

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 3 Respectfully submitted,

 4
   CHRISTOPHER CHIOU                              BRIAN M. BOYTON
 5 Acting United States Attorney                  Acting Assistant Attorney General
   District of Nevada                             Civil Division
 6

 7                                                ARUN G. RAO
     By:    /s/ Troy Flake                        Deputy Assistant Attorney General
 8
   Troy Flake                                     GUSTAV W. EYLER
 9 Chief, Affirmative Litigation Section          Director
   Assistant United States Attorney               Consumer Protection Branch
10
   District of Nevada
11 501 Las Vegas Boulevard South,                 ALLAN GORDUS
   Suite 1100                                     Assistant Director
12 Las Vegas, Nevada 89101
   troy.flake@usdoj.gov                           By: /s/ Sarah Williams
13 (702) 388-5071

14                                                Brianna Gardner
                                                  Sarah Williams
15                                                Trial Attorneys
                                                  Consumer Protection Branch
16                                                Department of Justice, Civil Division
                                                  P.O. Box 386
17                                                Washington, D.C. 20044
18                                                brianna.m.gardner@usdoj.gov
                                                  sarah.williams@usdoj.gov
19                                                (202) 532-4786- Gardner
                                                  (202) 616-4269- Williams
20

21                                                OF COUNSEL:
22                                                DANIEL J. BARRY
                                                  Acting General Counsel
23                                                Department of Health and Human Services

24                                                MARK RAZA
                                                  Acting Chief Counsel
25

26                                                ANNAMARIE KEMPIC
                                                  Deputy Chief Counsel for Litigation
27
                                                  JENNIFER ARGABRIGHT
28

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 1                                          Associate Chief Counsel
                                            Office of the Chief Counsel
 2                                          Food and Drug Administration
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